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 1   DANIEL G. BOGDEN
     United States Attorney
 2   AMBER M. CRAIG
     Assistant United States Attorney
 3   333 Las Vegas Blvd. South, Suite 5000
     Las Vegas, Nevada 89101
 4   PHONE: (702) 388-6336
     FAX: (702) 388-6698
 5
                                    UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
                                                -oOo-
 7
     UNITED STATES OF AMERICA,
 8                                                              2:15-mj-767-NJK
                             Plaintiff,
 9                                                              PETITION FOR WRIT OF HABEAS
                 vs.                                            CORPUS AD PROSEQUENDUM FOR
10                                                              RAFAEL CRUZ-RODRIGUEZ
     RAFAEL CRUZ-RODRIGUEZ,                                     (inmate # 07762566)
11
                            Defendant.
12
            The Petition of the United States Attorney for the District of Nevada respectfully shows that
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     RAFAEL CRUZ-RODRIGUEZ is committed by due process of law to the custody of the
14
     Warden/Sheriff of the Clark County Detention Center, 333 South Casino Center Boulevard, Las
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     Vegas, Nevada 89101. It is necessary that said RAFAEL CRUZ-RODRIGUEZ be released to the
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     custody of the United States Marshal for the District of Nevada, 333. South Las Vegas Boulevard,
17
     Las Vegas, Nevada 89101, on October 19, 2015, so that he may appear on an arrest warrant issued
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     by the United States District Court, District of Nevada.
19
            That the presence of the said RAFAEL CRUZ-RODRIGUEZ at the United States Marshal
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     for the District of Nevada, 333. South Las Vegas Boulevard, Las Vegas, Nevada 89101, on October
21
     19, 2015, has been approved by the United States Magistrate Judge for the District of Nevada.
22
                    WHEREFORE, Petitioner respectfully prays that a Writ of Habeas Corpus Ad
23
     Prosequendum issue out of this Court, directed to the Warden/Sheriff of the Clark County Detention
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 1   Center, 333 South Casino Center Boulevard, Las Vegas, Nevada 89101, and the United States
 2   Marshal for the District of Nevada, commanding them to produce the said RAFAEL CRUZ-
 3   RODRIGUEZ to the United States Marshal for the District of Nevada, 333 South Las Vegas
 4   Boulevard, Las Vegas, Nevada 89101, on October 19, 2015.
 5          DATED this 6th day of October, 2015.
 6                                                      Respectfully Submitted,
 7                                                      DANIEL G. BOGDEN
                                                        United States Attorney
 8
                                                         /s/ Amber M. Craig_______
 9                                                      AMBER M. CRAIG
                                                        Assistant United States Attorney
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 1                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 2                                             -oOo-
 3   UNITED STATES OF AMERICA,
                                                              2:15-mj-767-NJK
 4                          Plaintiff,
                                                             PETITION FOR WRIT OF HABEAS
 5               vs.                                         CORPUS AD PROSEQUENDUM FOR
                                                             RAFAEL CRUZ-RODRIGUEZ
 6   RAFAEL CRUZ-RODRIGUEZ,                                  (inmate # 07762566)
 7                         Defendant.
 8
            Upon reading the Petition of the United States Attorney for the District of Nevada, and
 9
     good cause appearing therefore,
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                   IT IS HEREBY ORDERED that a Writ of Habeas Corpus Ad Prosequendum issue
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     out of this Court, directing the production of the body of the said RAFAEL CRUZ-RODRIGUEZ to
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     the Lloyd D. George Federal Courthouse, via the custody of the United States Marshal for the
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     District of Nevada, 333 South Las Vegas, Nevada 89101, on October 19, 2015, to make his initial
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     appearance on an arrest warrant before the Honorable Magistrate Judge George Foley.
15
                  October
            Dated this _____8day of _________________, 2015.
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                                                 _____________________________________
                                                 HONORABLE NANCY J. KOPPE
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                                                 UNITED STATES MAGISTRATE JUDGE
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